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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
                                                CIVIL ACTION FILE NO.:
v.                                              1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.

                     DECLARATION OF MEGAN MISSETT

         MEGAN MISSETT hereby declares under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

         1.    I have personal knowledge of the facts stated in this declaration, and

if called to testify, I could and would testify competently thereto.

         2.   I am a Fulton County registered voter residing in Atlanta. I endeavor

to participate in all elections for which I am eligible to vote, and plan to continue to

do so.

         3.   A true and correct copy of my voter history as it currently appears on

the Secretary of State’s MVP page is attached as Exhibit 1.

         4.   Prior to March 2020 I voted on the DRE system in many elections as

is documented by the data on Exhibit 1.
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      5.      After the BMD system was adopted, I was torn between voting on the

insecure electronic ballot marking device system and attempting to vote absentee

by mail.

      6.      I much prefer to vote in person, and feel strongly about the value of

joining other members of my community in person, and exercising my right to vote

alongside my neighbors. I consider it a meaningful civic ritual.

      7.      However, I am not confident that my vote on a BMD has or will be

recorded a cast because the BMD voting system is not adequately secure, it is at

risk of compromise and malfunction, and it doesn’t allow a valid auditing process

that might mitigate against these vulnerabilities.

      8.     On the other hand, I have experienced that absentee by mail voting,

while providing the opportunity to vote on a secure, auditable hand-marked paper

ballot, brings its own risks.

      9.     Along with friends and family and other CGG members I work with, I

have had the experience of requesting an absentee ballot and having it go wrong. I

attempted to vote absentee by mail for the June 9, 2020 General Primary Election,

but did not receive my ballot from Fulton County in time to return it. Attached as

Exhibit 2 is a true and correct copy of emails between me and Rick Barron,

Fulton County Election Director, dated June 3, 2020. Mr. Barron and his

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staff tried to address the failure to process my request for an absentee by mail

ballot, but I still did not receive a mail absentee ballot by Election Day, June 9,

2020. As a result of my inability to obtain an absentee ballot, I voted early in-

person on June 5, 2020, cancelling the absentee ballot at the polling place, for fear

I would miss my chance to vote.

      10.    In addition, starting in the summer or fall of 2020, the USPS service

in my area (30306) became extremely unreliable, with some mail taking weeks to

arrive to us, if it all. It’s impossible to predict whether mail will arrive on time at

my residence.

      11.    After SB202 shortened the time for voting absentee by mail, and

reduced the number of convenient drop boxes, it became even more risky and

inconvenient for me to rely on absentee by mail voting.

      12.    Additionally, since September 2021, I have been frequently called

away as the primary caregiver for an elderly relative out of state, and the

unpredictability of this has made it necessary to vote in person, as I may not be in

Atlanta to execute the steps involved in voting by mail or follow up on mail ballot

issuance and acceptance problems.

      13.    I am frustrated that I have to choose between voting on an insecure

BMD, or trying to vote by mail, when using that process as it now exists brings the

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risk of not being able to vote at all. I would very much prefer to exercise my right

to vote in-person, on a secure, auditable hand-marked paper ballot. I believe that

every voter deserves the right to vote with confidence, knowing that their vote is

secure and auditable, and will be cast and counted.

      14.     Since January 2020, I have voted absentee by mail in the two

elections: November 3, 2020, General Election and the January 5, 2021 U.S.

Senate Runoff Election.

      15.     Since January 2020, I have voted in polling places on BMDs, either

on Election Day or early in-person, in the following ten elections:

       • March 24, 2020, Presidential Preference Primary Election, voted early

            in-person on March 9, 2020;

       • June 9, 2020, General Primary Election, voted early in-person on June

            5, 2020;

       • August 11, 2020, Primary Runoff Election, voted in-person on

            Election Day on August 11, 2020.

       • September 29, 2020, Special Election, voted in-person on Election Day

            on September 29, 2020.

       • November 2, 2021, Municipal General Election, voted in-person on

            Election Day on November 2, 2021;

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          • November 30, 2021 Municipal General Election Runoff, voted in-

                person on Election Day on November 30, 2021;

          • May 24, 2022, General Primary Election , voted in-person on Election

                Day on May 24, 2022;

          • June 21, 2022, Primary Runoff Election, voted in- person on Election

                Day on June 21, 2022.

          • November 8, 2022, General Election, voted early in-person on October

                24, 2022.

          • December 6, 2022 Gen/Spec Election Runoff, voted early in-person on

                December 2, 2022.

          16.     The requirement for the voter to review the BMD ballot for accuracy

prior to casting their ballot is onerous, impractical and nearly impossible based on

my personal experience. For example, I voted in the May 2022 Democratic Party

primary on a BMD. There were approximately 45 contests and questions on my

ballot.

          17.     Although I am a knowledgeable, conscientious and engaged voter,

with the good fortune of being well-educated, it would be nearly impossible for me

to memorize the 45 contests and questions on the ballot to check the accuracy of

the machine’s recording of my choices in the readable text.

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      18.    I am very uncomfortable with the way my votes are displayed in the

polling place on the elevated carriers Fulton County uses, making the problem of

the visible touchscreen worse. In Fulton County I find it difficult to vote privately

in the polling place, given the placement of the touchscreens.

      19.    The touchscreen display notifies me before I print my ballot if I

choose to skip a race and not vote that particular contest. The screen also notifies

me if I attempt to vote for more than one candidate in a race. The notification

messages on the screen are not private and can been by neighboring voters or

observers in the polling place.

      20.     I have spent many volunteer hours in every election year through

2021, campaigning for candidates and working in get out the vote efforts.

However, I have found it difficult to honestly give voters confidence that their vote

will be counted as intended given the poor security of the BMD system.

      21.    I object to the fact that my vote that is counted by the system is

encoded in a QR code that I cannot read before I cast my ballot. If the BMD

wrongly encodes my ballot, I have no way of detecting or correcting it.

      Executed on this date, February 2, 2023


                                              Megan Missett


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